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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,                     Case No. 2:11-cr-06-02

v.                                                     HON. ROBERT HOLMES BELL

JACOB JOHN JOHNSTON,

                  Defendant.
_________________________________/


                             REPORT AND RECOMMENDATION

                 Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 3, 2011, after receiving the written consent of defendant and all counsel. At the

hearing, defendant JACOB JOHN JOHNSTON entered a plea of guilty to Count 2 of the Indictment,

charging defendant with aiding and abetting the armed robbery of a federal credit union, in violation

of 18 U.S.C. §§ 2113(a), 2113(d) and 2(a), in exchange for the undertakings made by the government

in the written plea agreement. On the basis of the record made at the hearing, I find that defendant

is fully capable and competent to enter an informed plea; that the plea is made knowingly and with

full understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.

                 I therefore recommend that defendant’s plea of guilty to Count 2 of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be
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considered for acceptance at the time of sentencing. It is further recommended that the order setting

conditions of defendant’s release remain in effect pending sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, determination of defendant’s status pending

sentencing, and imposition of sentence are specifically reserved for the district judge.



                                               /s/ Timothy P. Greeley
                                               TIMOTHY P. GREELEY
                                               UNITED STATES MAGISTRATE JUDGE

Dated: May 3, 2011



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
See W.D. MICH . L.CR.R. 11.1(d).




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